                 United States Court of Appeals
              for the district of columbia circuit
                                
                                
                                
No. 97-1737                                  September Term, 1998

Harbor Gateway Commercial Property Owners' Association, et al.,
               Petitioners
               
v.

United States Environmental Protection Agency,
               Respondent
               

     Before: Wald, Silberman and Sentelle, Circuit Judges.


                            O R D E R             

     It is ORDERED, by the Court, sua sponte, that the dissenting opinion herein filed this
date, is amended as follows:

     Page 2, last line of footnote 1, "later" should read "letter."



FOR THE COURT:
Mark J. Langer, Clerk



Filed on February 19, 1999